Case 18-08362               Doc 14-1           Filed 05/08/18 Entered 05/08/18 11:37:14                                   Desc Proposed
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